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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   JEAN M. HOBLER
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, CA 95814
 4   Telephone: (916) 554-2700

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 8                                 UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         Case No. 2:11-cr-00353-MCE

12                   Plaintiff,                        STIPULATION AND PROTECTIVE
                                                       ORDER
13            v.

14
     ANTHONY WILLIAMS,
15
                     Defendants.
16

17

18            IT IS HEREBY STIPULATED AND AGREED among the parties and their respective

19   counsel, Jean M. Hobler, Assistant U.S. Attorney, representing plaintiff United States of America

20   and Scott Cameron, Esq., representing defendant Anthony Williams, that the documents provided

21   as discovery in this case to defense counsel are subject to a Protective Order.

22            The parties agree that discovery in this case contains “Protected Information,” which is

23   defined here as including victim and witness social security numbers, driver license numbers,

24   dates of birth, addresses, telephone numbers, and email addresses. This Protective Order extends

25   to all documents provided in this case, including those concerning conduct not directly charged in

26   the indictment or superseding indictment.

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                            Case 2:11-cr-00353-MCE Document 46 Filed 11/16/11 Page 2 of 2


 1                             By signing this Stipulation and Protective Order, defense counsel agree not to share any

 2   documents that contain Protected Information with anyone other than defense counsel and their

 3   designated defense investigators and support staff. Defense counsel may permit the defendants to

 4   view the documents in the presence of their attorney, defense investigators and support staff, so

 5   long as defense counsel, defense investigators and support staff do not allow the defendants to

 6   copy Protected Information contained in the discovery, and defense counsel, defense

 7   investigators, and support staff do not allow the defendants to retain unredacted copies of these

 8   records. In the event that the defendants substitute counsel, undersigned defense counsel agree to

 9   withhold documents containing Protected Information from new counsel unless and until
10   substituted counsel agree also to be bound by this order.
11                             IT IS SO STIPULATED.
12   Dated: November __, 2011                                       Respectfully submitted,
13
                                                                            BENJAMIN B. WAGNER
14                                                                          United States Attorney
15                                                                  By:     /s/ Jean M. Hobler
                                                                            JEAN M. HOBLER
16                                                                          Assistant U.S. Attorney
17                                                                  By:     /s/ Scott Cameron by JM Hobler
                                                                            SCOTT CAMERON
18                                                                          Counsel for ANTHONY WILLIAMS
19
                                                                    ORDER
20

21                             For good cause shown, the stipulation of counsel in criminal case no. 2:11-cr-00353-MCE

22   concerning Protected Information is approved, and IT IS SO ORDERED.

23
     Dated: November 15, 2011
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25                                                              __________________________________
                                                                MORRISON C. ENGLAND, JR
26                                                              UNITED STATES DISTRICT JUDGE

27   DEAC_Signatu re-END:




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